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 1                                                                                  Hon. Richard A. Jones
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
     UNITED STATES OF AMERICA,
 9                                                                  No. CR11-159RAJ
                                   Plaintiff,
10
                 v.                                                 ORDER DENYING MOTION FOR
11                                                                  REDUCTION OF SENTENCE
     ORLANDO OLAIS-ROCHA,
12
                                   Defendant.
13

14                                              I. INTRODUCTION
15           This matter comes before the court on Defendant Orlando Olais-Rocha’s pro se
16   motion requesting a reduction in his sentence under 18 U.S.C. § 3582(c)(2), based
17   on Amendments 782 and 788 to the United States Sentencing Guidelines (“USSG”)
18   (Dkt. #513). Plaintiff United States of America opposes the motion (Dkt. #528).

19   The court has thoroughly considered the parties’ briefing, the relevant record, and

20   the applicable law. Being fully advised,1 the court DENIES Mr. Olais-Rocha’s
     motion for the reasons stated below.
21
                                                II. BACKGROUND
22
             Defendant Orlando Olais-Rocha was sentenced by this court on September 7,
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     2012, following his plea of guilty to conspiracy to distribute controlled substances,
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     1
         No party has requested it, and the court finds oral argument to be unnecessary.

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 1   conspiracy to engage in money laundering, and possession of a firearm in
 2   furtherance of a drug trafficking crime.
 3        The amount of methamphetamine and heroin involved in Defendant’s offense
 4   was equivalent to 89,000 kilograms of marijuana. Based on the 2011 edition of the

 5   Sentencing Guidelines, applicable to the date of the offenses, the appropriate Base

 6   Offense Level for the drug offense was 38. USSG § 2D1.1(c)(1). Pursuant to
     various enhancement provisions of USSG § 2D1.1, Defendant was then assessed
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     upward adjustments related to the drug offense for: importation of
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     methamphetamine; maintaining premises for the purpose of distributing controlled
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     substances; employing a pregnant person in the distribution of controlled substances;
10
     and leadership. This resulted in an adjusted offense level of 48 for the drug offense.
11
     Defendant’s money laundering conviction added a 2-level enhancement, and then
12
     Defendant was awarded full credit for acceptance of responsibility, resulting in an
13   offense level subtotal of Level 47.
14        The sentencing table at USSG Ch. 5 Pt. A only goes up to Level 43, but the
15   commentary directs that “[a]n offense level of more than 43 is to be treated as an
16   offense level of 43.” At Total Offense Level 43 and Criminal History Category I,
17   Defendant’s resulting sentencing range was life, plus 60 months consecutive for the
18   gun offense. This is the sentencing range adopted by the court. The court then
19   varied downward from that range pursuant to the parties’ negotiated

20   recommendation in the Plea Agreement and imposed a sentence of 144 months’
     imprisonment for the drug and money laundering offenses, concurrent, plus 60
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     months consecutive for the gun offense, for a total sentence of imprisonment of 204
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     months.
23
                                      III. DISCUSSION
24
          A. Legal Standard
25
          Amendment 782 to the United States Sentencing Guidelines, which became
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     effective November 1, 2014, lowered the penalties for most drug offenses by

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 1   reducing most base offense levels contained in the USSG § 2D1.1 Drug Quantity
 2   Table by two levels, and making other related adjustments to this Guideline. Along
 3   with Amendment 782, the Sentencing Commission adopted Amendment 788, which
 4   decreed that Amendment 782 may be applied retroactively to lower the sentences of

 5   previously sentenced inmates. At issue in the instant motion is whether this court has

 6   authority to reduce Defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2).
         In order to qualify for a sentence reduction under 18 U.S.C. § 3582(c)(2), two
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     conditions must be met: (1) the Defendant must have been sentenced to a term of
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     imprisonment based on a sentencing range that has been lowered by a retroactively
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     applicable Guidelines amendment; and (2) the sentence reduction sought must be
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     consistent with the Sentencing Commission’s applicable policy statements. United
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     States v. Waters, 771 F.3d 679, 680 (9th Cir. 2014) (per curiam). A district court
12
     does not have jurisdiction to reduce the Defendant’s sentence unless both criteria are
13   met. See United States v. Wesson, 583 F.3d 728, 730 (9th Cir. 2009).
14

15       B. Defendant’s Motion
16       Following passage of the recent amendments to USSG § 2D1.1, Defendant’s
17   applicable sentencing range for the combined drug and money laundering offenses
18   has not been reduced; it remains life. This is because even though his base offense
19   level is reduced from Level 38 to Level 36, and, leaving all other adjustments in

20   place, his new offense level subtotal is correspondingly reduced from Level 47 to
     Level 45, this still exceeds the high end of the Sentencing Table. Accordingly, his
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     newly-reduced offense level subtotal continues to be treated as Level 43, as directed
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     by USSG Ch. 5, Pt. A, comment. n. 2. Accordingly, neither his applicable Total
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     Offense Level nor his corresponding sentencing range has been reduced by the
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     amendments.
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            Section 1B1.10 explicitly directs: “the court shall substitute only the
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     amendments listed in subsection (d) for the corresponding guideline provisions that

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 1   were applied when the defendant was sentenced and shall leave all other guideline
 2   application decisions unaffected.” USSG § 1B1.10 (b)(1). When this is done,
 3   Defendant’s applicable sentencing range is not reduced. Accordingly, Defendant’s
 4   sentencing range has not been lowered by a retroactively applicable Guidelines

 5   amendment, and the district court lacks jurisdiction to reduce the defendant’s

 6   sentence. Wesson, 583 F.3d at 730.

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                                     IV. CONCLUSION
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         For the above reasons, Defendant Orlando Olais-Rocha’s pro se Motion to
 9
     Reduce Sentence (Dkt. #513) is DENIED.
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         DATED this 8th day of June, 2015.
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13
                                                      A
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
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